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 6

 7                                UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF ARIZONA
 8

 9    Jennifer C. West,
10
      Plaintiff,
11
      v.                                                    Case No.
12
      ProCollect, Inc. and Experian Information
13    Solutions, Inc.,
14
      Defendants.
15
                                                 COMPLAINT
16
             NOW COMES JENNIFER C. WEST (“Plaintiff”), by and through her undersigned
17

18   counsel, complaining of Defendants ProCollect, Inc. and Experian Information Solutions, Inc.

19   (collectively, “Defendants”), as follows:

20                                     NATURE OF THE ACTION
21
             1.     Plaintiff brings this action seeking redress for Defendants’ violations of the Fair
22
     Credit Reporting Act (“FCRA”) pursuant to 15 U.S.C. §1681 et seq.
23
                                     JURISDICTION AND VENUE
24
             2.     Subject matter jurisdiction is conferred upon this Court by the FCRA and 28 U.S.C.
25

26   §§1331 and 1337, as the action arises under the laws of the United States.

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28
                                                      1
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 1            3.    Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)(2) because
 2   all of the events or omissions giving rise to the claims occurred within this judicial district.
 3
                                                   PARTIES
 4
              4.    Plaintiff is a natural person over 18-years-of-age that resides in Phoenix, Arizona.
 5
              5.    Defendant ProCollect, Inc. (“ProCollect”) is a debt collection corporation with its
 6
     headquarters located at 12170 Abrams Road, Suite 100, Dallas, Texas 75243.
 7

 8            6.    Defendant Experian Information Solutions, Inc. (“Experian”) is a prominent credit

 9   reporting agency. Experian maintains its principal place of business in Costa Mesa, California.
10                                      FACTUAL ALLEGATIONS
11
              7.    At some point in 2021, an unknown offender stole Plaintiff’s identity.
12
              8.    The unknown offender used Plaintiff’s identity to apply for several apartments in
13
     Texas.
14

15            9.    In August 2021, Plaintiff, while in the process of reviewing her credit reports,

16   accessed her Equifax, TransUnion, and Experian credit files and discovered false and derogatory

17   accounts and inquiries that she never authorized and did not belong to her.
18            10.   Specifically, Plaintiff noticed unauthorized credit inquiries from Syncb/At Home
19
     DC, Saferent Solutions LLC, and Rentgrow.
20
              11.   Moreover, Plaintiff’s credit reports were reporting that Plaintiff has two outstanding
21
     collection accounts with ProCollect: one for Folio West Apartment Houston, TX (“Folio”), and one
22

23   for The Augusta Apartments (“Augusta”) (collectively, “ProCollect Accounts”).

24            12.   Each ProCollect account was reporting a derogatory balance, in collections despite

25   Plaintiff never having a business relationship with ProCollect or any of its predecessors.
26
              13.   At that time, Plaintiff froze her credit reports so that no further unauthorized credit
27
     inquiries could take place.
28
                                                         2
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 1           14.      The ProCollect Accounts were reporting inaccurate and materially misleading
 2   information on Plaintiff’s Experian credit reports and were significantly harming Plaintiff’s credit
 3
     score and creditworthiness.
 4
             15.      At no point in time did Plaintiff live in Texas or apply for apartments in Texas.
 5
                              Plaintiff’s First Dispute to Experian and ProCollect
 6

 7           16.      Concerned with the unusual activity and inaccurate information on her credit

 8   reports, Plaintiff took immediate action to remove the foreign information and accounts from her

 9   Experian credit report.1
10
             17.      Specifically, on January 31, 2022, Plaintiff disputed the ProCollect Accounts online
11
     with Experian.
12
             18.      Upon information and belief, Experian transmitted Plaintiff’s disputes to ProCollect
13
     within five days of Experian’s receipt of Plaintiff’s dispute. See 15 U.S.C. §1681i(a)(2).
14

15           19.      Further, on February 16, 2022, Plaintiff placed a phone call to ProCollect and

16   disputed the ProCollect Accounts over the phone.
17           20.      At that time, Plaintiff advised ProCollect that the ProCollect Accounts were due to
18
     an identity theft and did not belong to her.
19
             21.      On February 16, 2022, Plaintiff sent ProCollect an identity theft dispute and attached
20
     a copy of her government-issued identification.
21

22           22.      On February 17, 2022, Experian responded to Plaintiff’s dispute of the ProCollect

23   Accounts, verifying the accounts as accurate, and advising Plaintiff that ProCollect indicates the

24   debts are due in full.
25

26

27
     1
      Equifax and Transunion removed all derogatory and false information from Plaintiff’s Equifax and
28   Transunion credit files during Plaintiff’s dispute process.
                                                         3
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 1          23.     Accordingly, the ProCollect Accounts continued to report derogatorily on Plaintiff’s
 2   Experian credit report.
 3
            24.     Moreover, in response to Plaintiff’s disputes, Experian declined to block the
 4
     disputed accounts and continued to report the same on Plaintiff’s credit report.
 5
                          Plaintiff’s Second Dispute to Experian and ProCollect
 6

 7          25.     On February 17, 2022, Plaintiff again disputed the ProCollect Accounts with

 8   Experian.

 9          26.     Upon information and belief, Experian transmitted Plaintiff’s disputes to ProCollect
10
     within five days of Experian’s receipt of Plaintiff’s dispute. See 15 U.S.C. §1681i(a)(2).
11
            27.     On February 22, 2022, Plaintiff filed an Identity Theft Report with the Federal Trade
12
     Commission (“FTC”) averring, inter alia, that she was a victim of identity theft and that (1) the
13
     ProCollect Accounts were incurred without her authorization and (2) there were unauthorized credit
14

15   inquiries on her credit reports.

16          28.     Also on February 22, 2022, Plaintiff sent ProCollect a second identity theft dispute
17   and this time attached her FTC ID Theft Report.
18
            29.     On February 23, 2022, Plaintiff placed a call to ProCollect inquiring as to the status
19
     of her disputes and was informed that she needed to send all inquiries in writing, through email.
20
            30.     That same day, in response to this request, Plaintiff sent an email to ProCollect
21

22   attaching all of the documents that she had previously sent.

23          31.     Between February 23, 2022, and February 26, 2022, Plaintiff sent several emails to

24   ProCollect checking on the status of her dispute.
25                                           Dispute Responses
26
            32.     On February 23, 2022, ProCollect mailed a letter to Plaintiff regarding the
27
     ProCollect Accounts, stating that the debts are true and valid debts.
28
                                                         4
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 1          33.     Included with this letter were validations of the ProCollect Accounts, including
 2   lease applications for both apartments.
 3
            34.     Noticeable on these applications is that both: (1) have a move-in date of January 11,
 4
     2021, at an address that is different than Plaintiff’s; (2) include a South Carolina driver’s license
 5
     that is different from Plaintiff’s; (3) have the same social security number as Plaintiff; (4) list an
 6

 7   address in South Carolina that is not Plaintiff’s; (5) list an employer that is not Plaintiff’s and with

 8   whom Plaintiff has never been employed; and (6) are completed from an IP address that does not

 9   belong to Plaintiff.
10
            35.     On February 23, 2022, ProCollect sent Plaintiff a cancellation letter for the Augusta
11
     account, stating that Plaintiff was not responsible for the Augusta account.
12
            36.     Noticeably, this letter was sent on the same date as the letter verifying both of the
13
     ProCollect Accounts.
14

15          37.     Further, the Augusta account was removed from Plaintiff’s Experian credit report.

16          38.     On February 24, 2022, prior to receiving the letter from ProCollect cancelling the
17   Augusta account, Plaintiff filed a complaint with the Consumer Financial Protection Bureau
18
     (“CFPB”) alleging ProCollect’s attempts to collect a debt now owed.
19
            39.     Unfortunately, Experian did not remove the Folio account from Plaintiff’s credit
20
     report and continues to report the disputed Folio account as belonging to Plaintiff.
21

22                                                DAMAGES

23          40.     Plaintiff has worked hard to build and maintain a good credit history.

24          41.     With the exception of the Folio account, Plaintiff does not have any other derogatory
25   accounts on her Experian credit report.
26

27

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                                                         5
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 1           42.     The inaccurate reporting of the fraudulent accounts has devastated Plaintiff’s credit
 2   score, which is currently in the low 600s due to Defendants’ inaccurate reporting of the ProCollect
 3
     accounts.
 4
             43.     The inaccurate reporting of the fraudulent accounts has damaged Plaintiff’s
 5
     creditworthiness because it creates the false impression that Plaintiff is in default on the fraudulent
 6

 7   accounts, thus rendering Plaintiff a high-risk consumer and impeding her ability to obtain credit.

 8           44.     Defendants’ reckless inaccurate reporting of the fraudulent accounts has frustrated

 9   Plaintiff’s ability to control her credit score and her ability to benefit from the credit history she has
10
     built over the years.
11
             45.     As a result of Defendants’ conduct, Plaintiff has suffered significant damages,
12
     including: the loss of credit opportunity, increased cost of credit, humiliation, loss of time disputing
13
     the inaccurate reporting, time expended monitoring her credit files and sending credit disputes,
14

15   mental anguish, emotional distress, lack of sleep, and anxiety.

16           46.     Moreover, Defendants’ conduct has resulted in monetary damages including the
17   costs of mailing disputes, purchasing credit reports, and subscribing to credit monitoring services.
18
             47.     Plaintiff did not file the instant complaint as knee-jerk reaction to a perceived harm;
19
     rather, Plaintiff’s financial health has been devastated as a result of Defendants’ collective reckless
20
     conduct.
21

22           48.     Plaintiff has literally exhausted all efforts short of judicial action to compel

23   Defendants to remove the fraudulent Folio account from her Experian credit report.

24           49.      Due to Defendants’ repeated refusal to remove the fraudulent Folio account from
25   Plaintiff’s Experian credit report, Plaintiff was forced to initiate the instant action to compel the
26
     same.
27

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                                                          6
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 1                   COUNT I – VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
                                      (Against ProCollect, Inc.)
 2

 3             50.     Plaintiff restates and realleges all preceding paragraphs as though fully set forth

 4   herein.
 5
               51.     Plaintiff is a “consumer” as defined by 15 U.S.C. §§1681a(b) and (c).
 6
               52.     Plaintiff is a “person” as defined by 15 U.S.C. §1681a(b).
 7
               53.     ProCollect is a “furnisher of information” as defined by 15 U.S.C. §1681s-2.
 8
               54.     At all times relevant, the above-mentioned credit reports were “consumer reports”
 9

10   as the term is defined by §1681a(d)(1).

11             55.     ProCollect violated 15 U.S.C. §1681s-2(b)(1)(A) by failing to conduct a reasonable
12   investigation into each of Plaintiff’s disputes relating to the ProCollect Accounts that were
13
     fraudulently opened in Plaintiff’s name.
14
               56.     ProCollect violated 15 U.S.C. §1681s-2(b)(1)(B) by failing to review all relevant
15
     information provided by Experian pursuant to 15 U.S.C. §1681i(a)(2).
16

17             57.     Had ProCollect reviewed the information provided by Plaintiff and Experian, it

18   would have discovered that Plaintiff was a victim of identity theft and that she did not apply for the

19   apartments which led to the ProCollect Accounts that it was reporting on Plaintiff’s Experian credit
20   report. Instead, ProCollect repeatedly confirmed the accuracy of its inaccurate reporting of the Folio
21
     account without conducting a reasonable investigation into any of Plaintiff’s disputes.
22
               58.     ProCollect violated 15 U.S.C. §1681s-2(b)(1)(C) by failing to report to Experian
23
     complete results of its investigations of Plaintiff’s disputes.
24

25             59.     ProCollect violated 15 U.S.C. §1681s-2(b)(1)(D) by failing to report the results of

26   its investigations into Plaintiff’s disputes to Experian.

27

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 1           60.     ProCollect violated 15 U.S.C. §1681s-2(b)(1)(E) by failing to modify, delete, or
 2   permanently block the inaccurate information it was reporting to Experian pertaining to the Folio
 3
     account that was fraudulently opened in Plaintiff’s name.
 4
             61.     ProCollect violated 15 U.S.C. §1681s-2(a)(6)(B) by failing to maintain reasonable
 5
     procedures to respond to identity theft disputes in a manner that prevents Experian from
 6

 7   refurnishing the disputed information.

 8           62.     ProCollect violated 15 U.S.C. §1681s-2(a)(6)(B) by continuing to furnish the

 9   disputed information to Experian after it received notice that Plaintiff was a victim of identity theft.
10
             63.     ProCollect violated 15 U.S.C. §1681s-2(a)(3) by failing to report the Folio account
11
     as disputed by Plaintiff.
12
             64.     Any reasonable investigation by ProCollect would have confirmed the veracity of
13
     Plaintiff’s disputes, yet ProCollect’s erroneous credit reporting of the Folio account persists in
14

15   Plaintiff’s Experian credit report.

16           65.     Had ProCollect taken any meaningful action to investigate Plaintiff’s valid disputes,
17   it would have permanently corrected its erroneous credit reporting. Plaintiff provided supporting
18
     evidence in her disputes, yet ProCollect repeatedly ignored the supporting evidence and continued
19
     its erroneous reporting of the fraudulent Folio account.
20
             66.     Further, ProCollect’s removal of the Augusta account but continuing validation of
21

22   the Folio account calls into question the veracity of ProCollect’s investigations.

23           67.     By removing one account and not the other, despite Plaintiff advising that both were

24   the result of identity theft, ProCollect exhibits the reckless disregard it has to Plaintiff’s disputes.
25           68.     By deviating from the standards established by the credit industry and the FCRA,
26
     ProCollect acted with reckless and willful disregard for its duty as a furnisher to report accurate
27
     and complete consumer credit information to Experian.
28
                                                          8
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 1             69.     ProCollect has exhibited a pattern of refusing to correct credit reporting errors
 2   despite being on notice that its false credit reporting is wreaking havoc on consumers’ credit scores,
 3
     ultimately valuing its own convenience above its grave responsibility to report accurate data to the
 4
     credit reporting agencies.
 5
               70.     As set forth above, Plaintiff was significantly harmed by ProCollect’s repeated
 6

 7   inaccurate credit reporting of the fraudulent ProCollect Accounts.

 8      WHEREFORE, Plaintiff, JENNIFER C. WEST, requests that this Honorable Court grant her

 9      the following relief:
10
               A.      A finding that ProCollect’s conduct as set forth herein violates the FCRA;
11             B.      An order enjoining ProCollect from reporting the fraudulent ProCollect Accounts
12                     on Plaintiff’s credit reports;

13             C.      An award of compensatory damages to Plaintiff to be determined by the jury;
               D.      An award of statutory damages of $1,000.00 for each violation of the FCRA;
14
               E.      An award of punitive damages to be determined by the jury;
15
               F.      An award of reasonable attorney’s fees and costs pursuant to 15 U.S.C. §1681n
16
                       and 15 U.S.C. §1681o; and
17             G.      An award of any other relief as this Honorable Court deems just and appropriate.
18

19                  COUNT II – VIOLATIONS OF THE FAIR CREDIT REPORTING ACT
20                                      (Against Experian)

21             71.     Plaintiff restates and realleges all previous paragraphs as though fully set forth

22   herein.
23
               72.     Experian is a “consumer reporting agency” as defined by 15 U.S.C. §1681a(f).
24
               73.     Experian is a “consumer reporting agency that compiles and maintains files on
25
     consumers on a nationwide basis” as defined by 15 U.S.C. §1681a(p).
26
               74.     At all times relevant, the above-mentioned credit reports were “consumer reports”
27

28   as that term is defined by §1681a(d).
                                                         9
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 1          75.     At all times relevant, Plaintiff was a “consumer” as the term is defined by 15 U.S.C.
 2   §1681a(c).
 3
            76.     The FCRA mandates that “[w]henever a consumer reporting agency prepares a
 4
     consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the
 5
     information concerning the individual about whom the report relates.” 15 U.S.C. § 1681e(b).
 6

 7          77.     The FCRA requires the credit reporting industry to implement procedures and

 8   systems to promote accurate credit reporting.

 9          78.     If a consumer notifies a credit reporting agency of a dispute concerning the accuracy
10
     of any item of credit information, the FCRA requires the credit reporting agency to conduct a
11
     reasonable investigation to determine whether the disputed information is inaccurate and record the
12
     current status of the disputed information or delete the disputed information within 30 days of
13
     receiving the dispute. 15 U.S.C. §1681i(a)(1)(A).
14

15          79.     Plaintiff provided Experian with all relevant information and documentation in her

16   disputes to support her contention that she was an identity theft victim and that the disputed
17   accounts and inquiries were unauthorized.
18
            80.     A cursory review of the evidence submitted by Plaintiff would have confirmed that
19
     the disputed accounts were fraudulent and not authorized by Plaintiff.
20
            81.     Experian failed to conduct a meaningful investigation into Plaintiff’s disputes.
21

22   Instead, it continued to blindly report the false information provided to it by ProCollect.

23          82.     Experian violated 15 U.S.C. §1681e(b) by failing to establish or to follow reasonable

24   procedures to assure maximum possible accuracy in preparation of the consumer reports it
25   furnished and refurnished concerning Plaintiff.
26
            83.     Experian repeatedly distributed patently false and materially misleading consumer
27
     reports concerning Plaintiff to third parties.
28
                                                       10
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 1           84.     Experian failed to follow reasonable procedures to assure maximum possible
 2   accuracy by repeatedly ignoring the evidence provided by Plaintiff and blindly accepting erroneous
 3
     information furnished to it by ProCollect as accurate.
 4
             85.     Had Experian followed reasonable procedures to assure maximum possible
 5
     accuracy, it would have reviewed the disputes and evidence submitted by Plaintiff and promptly
 6

 7   discovered that Plaintiff was an identity theft victim and that the disputed accounts were fraudulent.

 8   Instead, Experian repeatedly accepted erroneous information as true and continued the reporting of

 9   the erroneous information pertaining to the disputed accounts.
10
             86.     Experian should have implemented procedures and safeguards to prevent the
11
     repeated reporting of fraudulent accounts.
12
             87.     Experian violated 15 U.S.C. §1681i(a)(1) by failing to (1) conduct a reasonable
13
     investigation into each of Plaintiff’s disputes and (2) delete the fraudulent accounts from Plaintiff’s
14

15   credit files.

16           88.     Had Experian conducted a reasonable investigation into Plaintiff’s valid disputes, it
17   would have promptly determined that the disputed accounts were fraudulent.
18
             89.     Experian took no meaningful action to determine whether the disputed accounts
19
     were fraudulent and blindly reported the same with no regard for the accuracy of its reporting.
20
             90.     At very minimum, Experian should have requested that ProCollect provide proof
21

22   that its reporting was accurate. Instead, Experian continued to recklessly report false and unreliable

23   information regarding the fraudulent accounts.

24           91.     Experian violated 15 U.S.C. §1681i(a)(2) by failing to provide adequate notification
25   of Plaintiff’s disputes to ProCollect. Upon information and belief, Experian may have failed to
26
     forward all relevant information provided by Plaintiff to ProCollect.
27

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                                                        11
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 1            92.     Experian violated 15 U.S.C. §1681i(a)(4) by failing to review and consider all
 2   relevant information that it received from Plaintiff with regard to the fraudulent accounts.
 3
              93.     Experian violated 15 U.S.C. §1681i(a)(5) by failing to delete or modify the
 4
     fraudulent accounts that were the subject of Plaintiff’s disputes after Plaintiff submitted compelling
 5
     evidence that the disputed accounts were fraudulent.
 6

 7            94.     Experian violated 15 U.S.C. §1681c(f) by failing to notate that Plaintiff disputed the

 8   reporting of the fraudulent accounts. Experian is required to notate each account that a consumer

 9   disputes as “disputed” in each consumer report that includes the disputed information.
10
              95.     Experian violated 15 U.S.C. §1681c-2(a) by failing to block the information
11
     pertaining to the fraudulent accounts within 4 days after Plaintiff notified Experian of the identity
12
     theft.
13
              96.     Experian violated 15 U.S.C. §1681c-2(b) by failing to promptly notify ProCollect
14

15   that the disputed information may be a result of identity theft and that a block of the disputed

16   information is mandated by 15 U.S.C. §1681c-2(a).
17            97.     Experian violated 15 U.S.C. §1681c-2(c) by failing to promptly notify Plaintiff
18
     within the timeframe prescribed by 15 U.S.C. §1681i(a)(5(B) that Experian has declined to block
19
     the disputed information.
20
              98.     Experian had actual knowledge that the erroneous reporting of the fraudulent
21

22   accounts would have a significant adverse effect on Plaintiff’s credit worthiness and ability to

23   obtain credit.

24            99.     Despite having actual knowledge that Plaintiff’s credit files contained erroneous
25   information, Experian readily distributed Plaintiff’s inaccurate and misleading credit reports to one
26
     or more third parties, thereby misrepresenting facts about Plaintiff and Plaintiff’s creditworthiness.
27

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                                                        12
       Case 2:22-cv-00497-SRB Document 1 Filed 03/29/22 Page 13 of 14



 1          100.    By deviating from the standards established by the credit reporting industry and the
 2   FCRA, Experian acted with a reckless disregard of its duty to report accurate and complete
 3
     consumer credit information.
 4
            101.    It is Experian’s regular business practice to blindly report disputed information
 5
     without taking the required investigatory steps to meaningfully verify such information as accurate.
 6

 7          102.    Experian’s non-compliance with the requirements of the FCRA is indicative of the

 8   reckless, willful, and wanton nature of its mistreatment of Plaintiff.

 9          103.    Experian has exhibited a pattern of refusing to correct errors in consumer credit files
10
     despite being on notice of patently false and materially misleading information contained in such
11
     files, ultimately valuing its own convenience above its grave responsibility to report accurate
12
     consumer data.
13
            104.      As stated above, Plaintiff was significantly harmed by Experian’s conduct.
14

15          WHEREFORE, Plaintiff, JENNIFER C. WEST, requests that this Honorable Court grant

16   her the following relief:
17              A. A finding that Experian’s conduct as set forth herein violated the FCRA;
18              B. An Order enjoining Experian from reporting the fraudulent accounts;
19              C. An award of compensatory damages to Plaintiff to be determined by the jury;

20              D. An award of statutory damages of $1,000.00 for each violation of the FCRA;
                E. An award of punitive damages to be determined by the jury; and
21
                F. An award of reasonable attorney’s fees and costs pursuant to 15 U.S.C. §1681n and
22
                    15 U.S.C. §1681o; and
23              G. An award of any other relief as this Honorable Court deems just and appropriate.
24                                    DEMAND FOR JURY TRIAL
25          Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.
26

27

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                                                       13
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 1   DATED: March 29, 2022                         Respectfully submitted,
 2

 3                                                 JENNIFER C. WEST

 4                                                 By: /s/ Marwan R. Daher

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